                    Case 2:06-cr-00200-MCE Document 151 Filed 02/13/09 Page 1 of 5
AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                     v.                                                  (For Offenses Committed On or After November 1, 1987)
             DONALD EDGECOMB                                             Case Number: 2:06CR00200-02


                                                                         Bruce Locke, Retained
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): 1 of the Inform ation .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense           Count
Title & Section                     Nature of Offense                                       Concluded              Num ber(s)
12 USC 2607(b) and (d)(1)           Unlawful Charge Split                                   08/09/2004             1




       The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[]       Count(s)      (is)(are) dism issed on the m otion of the United States.

[U]      Indictm ent is to be dism issed by District Court on m otion of the United States.

[U]      Appeal rights given.                          [ ]       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                 01/29/2009
                                                                 Date of Im position of Judgm ent




                                                                 Signature of Judicial Officer



                                                                 M ORRISON C. ENGLAND, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 02/12/2009
                                                                 Date
                    Case 2:06-cr-00200-MCE Document 151 Filed 02/13/09 Page 2 of 5
AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:                2:06CR00200-02                                                                               Judgment - Page 2 of 5
DEFENDANT:                  DONALD EDGECOMB



                                                           PROBATION
         The defendant is hereby sentenced to probation for a term of 48 months .



The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
                    Case 2:06-cr-00200-MCE Document 151 Filed 02/13/09 Page 3 of 5
AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:               2:06CR00200-02                                                              Judgment - Page 3 of 5
DEFENDANT:                 DONALD EDGECOMB




                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States Probation Officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
              restitution order by this judgment is paid in full, unless the defendant obtains approval of the
              court.

         3.   The defendant shall provide the probation officer with access to any requested financial
              information.

         4.   The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.

         5.   As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.

         6.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         7.   The defendant shall comply with the conditions of home detention for a period of thirty (30)
              consecutive days to commence when directed by the probation officer. During this time, the
              defendant will remain at place of residence except for employment and other activities approved
              in advance by the defendant’s probation officer. The defendant will maintain telephone service
              at his place of residence without an answering device, call forwarding, a modem, caller ID, call
              waiting, or a cordless telephone for the above period.

              At the discretion of the probation officer, the defendant shall wear an electronic monitoring
              device and follow electronic monitoring procedures as specified by his probation officer. The
              defendant shall pay the cost of electronic monitoring as determined by the probation officer.

         8.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.
                      Case 2:06-cr-00200-MCE Document 151 Filed 02/13/09 Page 4 of 5
AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:06CR00200-02                                                                                 Judgment - Page 4 of 5
DEFENDANT:                    DONALD EDGECOMB


                                          CRIMINAL MONETARY PENALTIES
     The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                    Assessm ent                           Fine                      Restitution
       Totals:                                        $25.00                               $                       $ 18,000.00


[]     The determ ination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determ ination.

[]     The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                    Restitution Ordered      Priority or Percentage


       TOTALS:                                           $                                $




[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on Sheet
       6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ U]      The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [U] The interest requirem ent is waived for the                  [ ] fine          [U] restitution

       [ ] The interest requirem ent for the                 [ ] fine   [ ] restitution is m odified as follows:




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
                     Case 2:06-cr-00200-MCE Document 151 Filed 02/13/09 Page 5 of 5
AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:06CR00200-02                                                                           Judgment - Page 5 of 5
DEFENDANT:                   DONALD EDGECOMB

                                                 SCHEDULE OF PAYMENTS


     Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

A    [ ] Lum p sum paym ent of $            due im m ediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or    [ ] F below; or

B    [U]           Paym ent to begin im m ediately (m ay be com bined with      [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $  over a period of       (e.g., m onths or years),
         to com m ence     (e.g., 30 or 60 days) after the date of this judgm ent; or

D    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of   (e.g., m onths or years),
         to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

E    [ ] Paym ent during the term of supervised release will com m ence within          (e.g., 30 or 60 days) after release from
         im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that tim e;
         or

F    [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents made through the Federal Bureau
of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

[]   Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
